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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

RIGOBERTO SANCHEZ,
           Movant,                     CIVIL ACTION
      v.                                 NO. 1:10-CV-2938-CAP

                                         CRIMINAL ACTION NO.
UNITED STATES OF AMERICA,                  1:07-CR-412-10-CAP
           Respondent.

                               O R D E R

     After carefully considering the report and recommendation

(“R&R”) of the magistrate judge [Doc. No. 921] and the objections

thereto [Doc. No. 923], the court receives the R&R with approval

and ADOPTS it as the opinion and order of this court with respect

to the adjudication of Grounds One and Two of Movant’s motion to

vacate.

     In his objections [Doc. No. 923], however, Movant provides the

court with an amendment to his motion to vacate in which he raises

Grounds Three through Seven.       Movant states that he filed this

amendment with the court on February 26, 2011, but it was not

received by the court.    Therefore, these claims were not addressed

in the R&R.   These claims would be untimely if filed on August 15,

2011 (the date the court received the amendment attached to the

objections), but given Movant’s statement that he submitted them in
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February 2011 and because the amendment is dated February 26, 2011,

the court finds these claims to be timely and will be addressed.

     The clerk is DIRECTED to file a copy of Movant’s amendment

[Doc. No. 923, pp. 3-5] on the docket and refer it to the

Magistrate Judge for an R&R.

     SO ORDERED, this 19th day of August, 2011.



                                  /s/ Charles A. Pannell, Jr.
                                  CHARLES A. PANNELL, JR.
                                  United States District Judge




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